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           IN THE UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF COLUMBIA

CAUSE OF ACTION INSTITUTE,                      )
                                                )
            Plaintiff,                          )
                                                )
      v.                                        )           No. 1:19-cv-778-CJN
                                                )
UNITED STATES                                   )
DEPARTMENT OF COMMERCE                          )
                                                )
            Defendant.                          )
________________________________________________)

               PLAINTIFF’S RESPONSE TO DEFENDANT’S
             STATEMENT OF UNDISPUTED MATERIAL FACTS

      Pursuant to Federal Rule of Civil Procedure 56 and Rule 7(h) of the Local Civil

Rules of the United States District Court for the District of Columbia, Plaintiff Cause

of Action Institute (“CoA Institute”) hereby responds to Defendant’s Statement of

Material Facts as to Which There is No Genuine Issue. See ECF No. 20-2.

   1. Defendant’s Statement: By correspondence dated February 18, 2019,

Plaintiff Cause of Action Institute (“Plaintiff”) made identical Freedom of Information

Act (“FOIA”) requests to DOC and the Bureau of Industry and Security (“BIS”),

agency within DOC, seeking “a copy of the Commerce Secretary’s final report to the

President regarding Section 232 National Security Investigation of Imports of

Automobiles, Including Cars, SUVs, Vans and Light Trucks, and Automotive Parts.”

Declaration of Brian D. Lieberman (“Lieberman Decl.”), at ¶ 8. & Ex. 1 and 2.
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         •   Plaintiff’s Response: Undisputed; Plaintiff respectfully refers the

             Court to the referenced FOIA request for a complete and accurate

             statement of its contents. Compl. Ex. 1.

   2. Defendant’s Statement: The document to which Plaintiff is referring is a

report that the Secretary of Commerce (“Secretary”) submitted to President Donald

J. Trump on February 19, 2019 pursuant to Section 232 of the Trade Expansion Act

of 1962, 19 U.S.C. § 1862 regarding whether automobile and certain automobile part

imports threaten to impair the national security of the United States. On May 17,

2019, the President issued an Executive Proclamation summarizing the Secretary’s

report, concurring with the Secretary’s conclusion that these imports posed a

threatened impairment to national security and acting upon the Secretary’s

recommendation for the United States Trade Representative to pursue the

negotiation of agreements to address this matter and update him on the progress of

these negotiations by November 13, 2019, 180 days after the issuance of the

proclamation. Id. at ¶¶ 4-6, 23-33 and Ex. 6-8.

         •   Plaintiff’s Response to First Sentence: Undisputed.

         •   Plaintiff’s Response to Second Sentence: Undisputed; Plaintiff

             respectfully refers the Court to Exhibit 8 of the Lieberman Declaration

             for a complete version of the President’s May 17, 2019 Proclamation.

   3. Defendant’s Statement: By email dated February 19, 2019, BIS

acknowledged receipt of Plaintiff’s FOIA request and provided administrative

tracking number DOC-BIS-2019-000742. Id. at ¶ 9, n. 1 and Ex. 3.



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          •   Plaintiff’s Response: Undisputed.

   4. Defendant’s Statement: By email dated February 25, 2019, BIS advised

Plaintiff that Plaintiff’s request for a waiver of the applicable fees was granted. Id. at

¶ 10 and Ex. 4.

          •   Plaintiff’s Response: Undisputed.

   5. Defendant’s Statement: By correspondence dated June 13, 2019, DOC

advised Plaintiff regarding both the request to DOC and BIS that:

      We are currently reviewing, in conjunction with the Executive Office of
      the President, whether the Secretary’s report constitutes a presidential
      record within the meaning of the Presidential Records Act, 44 U.S.C.
      2201 et seq., in which case it would not be subject to disclosure under
      FOIA. However, to the extent that the Secretary’s Section 232 report to
      the President of the United States may constitute an agency record
      within the meaning of FOIA, DOC and BIS are withholding it in full
      pursuant to 5 U.S.C. § 552(b)(5), which exempts from disclosure inter-
      agency or intra-agency memorandums or letters which would not be
      available by law to a party other than an agency in litigation with the
      agency. The report, if an agency record, would be exempted from
      disclosure under FOIA pursuant to the presidential communications
      privilege and/or the deliberative process privilege, until all actions
      deemed necessary to adjust the imports of automobiles and automobile
      parts so that such imports will not threaten to impair the national
      security have been completed. See 15 C.F.R. § 705.11.

Id. at ¶ 11 and Ex. 5.

          •   Plaintiff’s   Response:      Undisputed     that   Defendant     sent   the

              correspondence. Plaintiff respectfully refers the Court to Exhibit 5 to

              the Lieberman Declaration for the complete correspondence.

   6. Defendant’s Statement: Upon completion of this review, DOC concluded that

the entirety of the Secretary’s report is subject to the presidential communication




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privilege and/or deliberative process privilege pursuant to FOIA Exemption 5, 5

U.S.C. § 552. Id. at ¶¶ 12, 33-43.

          •   Plaintiff’s Response: Defendant’s statement is a conclusion of law to

              which no response is required. To the extent a response is required by

              the Court, undisputed that Defendant made such a conclusion, but

              disputed that such a conclusion is lawful.


Date: September 3, 2019                    Respectfully submitted,

                                           /s/ R. James Valvo, III
                                           R. James Valvo, III (D.C. Bar No. 1017390)
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                                           Counsel for Plaintiff




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